Case 2:21-cv-00177-SRB Document 38-37 Filed 10/18/21 Page 1 of 28




                     Exhibit C-18
Case 2:21-cv-00177-SRB Document 38-37 Filed 10/18/21 Page 2 of 28
Case 2:21-cv-00177-SRB Document 38-37 Filed 10/18/21 Page 3 of 28
Case 2:21-cv-00177-SRB Document 38-37 Filed 10/18/21 Page 4 of 28
Case 2:21-cv-00177-SRB Document 38-37 Filed 10/18/21 Page 5 of 28
Case 2:21-cv-00177-SRB Document 38-37 Filed 10/18/21 Page 6 of 28
Case 2:21-cv-00177-SRB Document 38-37 Filed 10/18/21 Page 7 of 28
Case 2:21-cv-00177-SRB Document 38-37 Filed 10/18/21 Page 8 of 28
Case 2:21-cv-00177-SRB Document 38-37 Filed 10/18/21 Page 9 of 28
Case 2:21-cv-00177-SRB Document 38-37 Filed 10/18/21 Page 10 of 28
Case 2:21-cv-00177-SRB Document 38-37 Filed 10/18/21 Page 11 of 28
Case 2:21-cv-00177-SRB Document 38-37 Filed 10/18/21 Page 12 of 28
Case 2:21-cv-00177-SRB Document 38-37 Filed 10/18/21 Page 13 of 28
Case 2:21-cv-00177-SRB Document 38-37 Filed 10/18/21 Page 14 of 28
Case 2:21-cv-00177-SRB Document 38-37 Filed 10/18/21 Page 15 of 28
Case 2:21-cv-00177-SRB Document 38-37 Filed 10/18/21 Page 16 of 28
Case 2:21-cv-00177-SRB Document 38-37 Filed 10/18/21 Page 17 of 28
Case 2:21-cv-00177-SRB Document 38-37 Filed 10/18/21 Page 18 of 28
Case 2:21-cv-00177-SRB Document 38-37 Filed 10/18/21 Page 19 of 28
Case 2:21-cv-00177-SRB Document 38-37 Filed 10/18/21 Page 20 of 28
Case 2:21-cv-00177-SRB Document 38-37 Filed 10/18/21 Page 21 of 28
Case 2:21-cv-00177-SRB Document 38-37 Filed 10/18/21 Page 22 of 28
Case 2:21-cv-00177-SRB Document 38-37 Filed 10/18/21 Page 23 of 28
Case 2:21-cv-00177-SRB Document 38-37 Filed 10/18/21 Page 24 of 28
Case 2:21-cv-00177-SRB Document 38-37 Filed 10/18/21 Page 25 of 28
Case 2:21-cv-00177-SRB Document 38-37 Filed 10/18/21 Page 26 of 28
Case 2:21-cv-00177-SRB Document 38-37 Filed 10/18/21 Page 27 of 28
Case 2:21-cv-00177-SRB Document 38-37 Filed 10/18/21 Page 28 of 28
